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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                 (Greenbelt Division)

______________________________________
JET SYSTEMS, LLC                                         )
48015-1 Pine Hill Run Road                               )
Lexington Park, Maryland 20653                           )
                                                         )
              Plaintiff,                                 ) Civil Action No. ______
                                                         )
v.                                                       )
                                                         ) TRIAL BY JURY DEMANDED
J.F. TAYLOR, INC.                                        )
45671 Pleasant Mill Drive                                )
Great Mills. Maryland 20634                              )
                                                         )
SERVE ON:                                                )
Tammy Marie Sparks, Registered Agent                     )
45671 Pleasant Mill Drive                                )
Great Mills, Maryland 20634                              )
                                                         )
___________Defendant.__________________                  )

                                       COMPLAINT

       Plaintiff JET Systems, LLC ("JET"), by and through undersigned counsel, brings

this Complaint against Defendant J.F. Taylor, Inc. ("JFTI") and states as follows:

                                     INTRODUCTION

1.     This case arises out of concerted action by the United States Navy ("USN") and

Defendant JFTI to misappropriate Plaintiff's proprietary Adaptive Layer Framework

("ALF") software products and documentation to use for their own purposes without

compensating Plaintiff and causing Plaintiff further reliance and consequential damages.

2.     Plaintiff alleges herein that Defendant JFTI has (1) infringed Plaintiff's copyright

in its computer source code by unauthorized copying; (2) violated the Defend Trade

Secrets Act by misappropriating Plaintiff's trade secrets; (3) committed the common law

tort of conversion in exercising unauthorized dominion over Plaintiff's personal property;


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(4) violated the Maryland Uniform Trade Secrets Act by misappropriating Plaintiff's trade

secrets; and (5) breached a purchase order with JET for its software and documentation

by not making payment after JET delivered its software and documentation in

compliance with the purchase order.

                                       PARTIES

3.    Plaintiff JET is a Maryland corporation with its principal place of business located

at 48015-1 Pine Hill Run Road, Lexington Park, Maryland 20653. JET develops,

maintains, and innovates systems for specific and common mission capabilities, combat

aides, and surveillance systems. JET supports platforms related to Small Unmanned

Aerial Vehicles (SUAV), UAV, and manned vehicles for the Department of Defense

("DoD"), the National Aeronautics and Space Administration ("NASA"), the Department

of the Army ("DoA"), and other government agencies. JET provides solutions through

cost-effective, tailored strategies to meet mission requirements to include both new

software generation and certified software re-use. In return, the government utilizes JET

to provide ongoing support activity or to prepare the customer to be a lead systems

integrator. JET has developed its proprietary Adaptive Layer Framework ("ALF")

software products and documentation.

4.    Defendant JFTI is a Maryland corporation with its principal place of business

located at 45671 Pleasant Mill Drive, Great Mills, Maryland 20634. According to its

website www.jfti.com, JFTI "specializes in delivering high-tech products and solutions to

keep our military strong and our warfighters safe," and has "40 years of experience as a

design, engineering, and manufacturing company."




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                                JURISDICTION AND VENUE

5.     This Court has original federal question subject matter jurisdiction pursuant to 28

U.S.C. §§ 1331 over Plaintiff's claims for copyright infringement and violation of the

federal Defend Trade Secrets Act, 18 U.S.C. §§ 1836 et seq, and also pursuant to 28

U.S.C. § 1338 for copyright infringement.

6.     Pursuant to 28 U.S.C. § 1367, this Court should exercise supplemental

jurisdiction over the state law claims asserted herein because such claims are so

related to the copyright infringement claim and the violation of the Defend Trade Secrets

Act claim in this action that they form part of the same case or controversy under Article

III of the U.S. Constitution.

7.     This Court has in persona jurisdiction over Defendant JFTI in that Defendant is

incorporated under the laws of Maryland and its principal office is located in Maryland.

8.     Venue is proper pursuant to 28 U.S.C. §§ 1391(b)(1) in that both Plaintiff and

Defendant reside in this judicial district; and venue is also proper pursuant to 28 U.S.C.

§ 1391(b)(2) in that a substantial part of the events or omissions giving rise to Plaintiff's

claims occurred in this judicial district.

                                             FACTS

9.     As part of its contract with the United States Navy ("USN") to design, develop,

build, and test prototype computers for the NAVAIR PMA-209 Air Combat Electronics

Program Office ("PMA-209") Mission Computer Adjunct Processor ("MCAP") Program,

the USN asked JFTI to issue a purchase order to JET for JET's proprietary Baseline

ALF software products and documentation.




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10.   JFTI issued the Request for Quote, a copy of which is attached as Exhibit A

hereto.

11.   JET responded with a Quote, a copy of which is attached as Exhibit B hereto.

12.   JFTI accepted JET's bid and issued Purchase Order ("P.O. 309975"), a copy of

which is attached as Exhibit C hereto.

13.   P.O. 309975 was issued pursuant to Standard Terms and Conditions ("ST&C")

appearing on JFTI's website. A copy of the ST&C is attached as Exhibit D hereto.

14.   The ST&C, Paragraph 28, summarizes the applicable DFARS/FAR Clauses for

all procurements, included among which is DFARS 252.227-7014 (Rights in

Noncommercial Computer Software and Noncommercial Computer Software

Documentation).

15.   DFARS 252.227-7014 applies to P.O. 309975 because JET's proprietary

Baseline ALF software products and documentation are not "commercial computer

software" and its documentation as defined in Sections (a)(1) and (5) of the DFARS.

16.   Had the contract gone forward, the Government might have rights in the

delivered software and the documentation pursuant to DFARS 252.227-7014(b)(3), but

the contract did not go forward when the Government breached its contract with JFTI in

which Plaintiff was a third-party beneficiary and when JFTI canceled P.O. 309975.

17.   P.O. 309975 required delivery of the software and documentation on or before

September 11, 2022.

18.   The only contract by and between the parties is set forth in the items discussed

above and attached as Exhibits A-D hereto. There are no other written agreements by




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and between JET and JFTI with regard to the legal defined deliverables as delineated in

the Request for Quotation, Quote, and P.O. 309975.

19.   On or about September 9, 2022, after discussions with the Government, JET

delivered a copy of its source code and documentation directly to the Government.

20.   On or about September 22, 2022, by his signature, Kevin Pilkerton of PMA-

209/Multi-Use Laboratory Environment ("MULE") signed for receipt of a DVD comprising

ALF PowerPC 653 Supplemental Software. On September 26, 2022 Kevin Pilkerton

signed for receipt of a DVD comprising ALF PowerPC 653 Test Cases. Copies of the

two signed receipts are attached as Exhibit E.

21.   On or about September 27, 2022, Matt Campbell of JFTI sent an email to Scott

Jaster of JET, relaying to JET a request from the Government to amend P.O.309975 to

include delivery of products and services not included in P.O. 309975 (ALF Core, SDK,

and support to MULE), in exchange for "a 50% payment for what you have delivered so

far." A copy of the September 27, 2022 email from Matt Campbell is attached as Exhibit

F. Given that JET had already fully met its obligations under P.O. 309975, JET did not

accept the coercive offer from JFTI and the Government.

22.   In a text message exchange on October 18, 2022 between Scott Jaster of JET

and Jeff Williamson of PMA-209/MULE while the Government was withholding payment

on P.O. 309975, Williamson states " I worked to get you 50% you did[n't] take it." After

Scott Jaster explains that JET has satisfied its obligations under P.O. 309975,

Williamson responds "It's out of my hands." A copy of the October 18, 2022 text

message exchange is attached as Exhibit G.




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23.    On or about November 10, 2022, the Government sent a Letter of Concern to

JFTI falsely claiming that the delivered software was incomplete and requesting a

response by close of business on November 18, 2022, as to how JFTI intended to

remedy the content of the deliverable. A copy of the Government's Letter of Concern is

attached as Exhibit H hereto.

24.    JFTI then sent a letter to JET dated November 14, 2022, informing JET that it

considered JET to be in breach of P.O. 309975 based on the Government's Letter of

Concern and provided JET until 12:00 noon on Wednesday November 23, 2022, to

complete performance and cure its alleged breach. A copy of JFTI's November 14,

2002, letter is attached as Exhibit I hereto.

25.    JET denied any breach and commenced negotiations, but JFTI failed to

acknowledge that JET had complied with the terms and conditions of the purchase

order. By letter dated December 9, 2022, JFTI notified JET that P.O. 309975 was

terminated for cause. A copy of JFTI's December 9, 2022, letter is attached as Exhibit J

hereto.

26.    JFTI made no payments to JET under the purchase order, which was wrongfully

terminated.

27.    JET has registered its copyright in the software code for its proprietary Adaptive

Layer Framework software (Registration Number TX 9-384-065).

28.    On or about February 27, 2023, JFTI returned a Compact Disk containing the

delivered software and documentation to JET. However, before returning the software,

upon information and belief, and as shown below, JFTI and the Government made




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unauthorized copies in violation of JET's registered copyright in the software and

constituting misappropriation of trade secrets and conversion.

29.    On or about 12:30 p.m. December 5, 2022, a telephone conference was held

between Scott Jaster of JET; and Wayne Taylor, Matt Campbell, Natalie Morris, and

Tammy Sparks, all of JFTI. A copy of the conference call notice sent by Matt Campbell

of JFTI is attached as Exhibit K. On information and belief, the conference call notice

was sent to all named conference call participants.

30.    During the December 5, 2022 conference call, JFTI personnel admitted that they

evaluated the ALF software that JET had delivered to the Government. This admission

is memorialized in the email sent from Scott Jaster to Tammy Sparks of JFTI on

Wednesday, December 14, 2022 at 10:22 AM ("It was stated in the last phone call

meeting that JFTI reviewed and assessed the delivered products, and that they "agree"

with the Government's assessment.") The same admission was again memorialized in

an email from Scott Jaster to Tammy Sparks on December 15, 2022 at 11:11 AM.

Copies of the December 14, 2022 and December 15, 2022 emails are attached as

Exhibit L.

31.    In an email sent September 28, 2022, Kevin Pilkerton of PMA-209 announced

that the MULE team had successfully built the JET delivered ALF software in VxWorks.

In order to accomplish this build, the PMA-209/MULE team necessarily copied the ALF

software. A copy of the September 28, 2022, email from Kevin Pilkerton of PMA-209 is

attached as Exhibit M.

32.    On information and belief, JFTI copied ALF software ostensibly under JFTI Prime

Contract number N00421-22-9-0003, paragraph 2.4.1.10 Reusable Software Products:




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The Performer (JFTI) shall integrate ALF into the MCAP software environment during

the modification phase, coordinating with the Government as needed during SETR

events. The Performer (JFTI) shall deliver the updated ALF software, with Government

Purpose Rights, using DI-IPSC-81488 as guidance (Deliverable D68).

33.   The Government in collaboration with JFTI also made the software and its

documentation available to other parties, including Precise Systems. Specifically, on

information and belief, PMA-209 awarded Support Contract number N0042122R3013 to

Secise/Precise around January 10, 2024. In the Statement of Work published by PMA-

209, on June 15, 2023, the contract was to be awarded to a contractor having

"[d]emonstrated experience with adaptive layer framework." A copy of the relevant

contract paragraphs is attached at Exhibit N.

34.   On information and belief, Support Contract number N0042122R3013 was

withdrawn from Secise/Precise Systems amid allegations of unethical behavior by

Secise/Precise Systems.

35.   On September 28, 2022 in an email to Peter Allen of JET Systems, Kevin

Pilkerton of PMA-209/MULE explained that PMA-209/MULE had ALF products up and

running in its lab, including implementations of JET's latest versions of SDK, Core,

labor/training and software adapters to account for the PMA-209/MULE lab's

deficiencies, and sought help from JET Systems to overcome the deficiencies. A copy of

the September 28, 2022 email from Kevin Pilkerton to Peter Allen is attached as Exhibit

M.

36.   PMA-209 was sufficiently aware of JET Systems' interest in protecting its

proprietary intellectual property from unauthorized copying, especially by JFTI, that




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PMA-209 accepted delivery of ALF software directly from JET, instead of from the Prime

contractor JFTI. Despite this awareness, PMA-209 returned its authorized copy of ALF

not directly to JET Systems, but rather to JFTI. These facts are admitted in a November

13, 2023 letter from Commander, Naval Air Systems Command to Office of the National

Ombudsman, U.S. Small Business Administration, a copy of which is attached as

Exhibit O.

37.   Consistent with its awareness of JET Systems' interest in protecting its

proprietary intellectual property from unauthorized copying, especially by JFTI, PMA-

209 instructed JFTI to amend the PO to include direct delivery of ALF Core and SDK to

the Government. Matt Campbell of JFTI confirmed this in the email to Scott Jaster dated

September 27, 2022 attached as Exhibit F.

38.   Even prior to receiving the instructions from PMA-209 regarding delivery of ALF

directly to the Government by JET Systems, JFTI had given similar instructions to JET

Systems, in a letter dated August 5, 2022. A copy of the August 5, 2022 letter is

attached as Exhibit P.

39.   In a text message exchange September 6 – 7, 2022, Jeff Williamson of PMA-

209/MULE acknowledged JET Systems' desire to avoid delivery of ALF software to or

through JFTI. The text message exchange of September 6 – 7 is attached as Exhibit Q.

40.   In an email of August 18, 2022, Kim Skidmore of JFTI confirmed and approved

that JET Systems would deliver ALF directly to the Government. The August 18, 2022

email is attached as Exhibit R.




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                                   CAUSES OF ACTION

                       COUNT I: INFRINGEMENT OF COPYRIGHT

41.     Plaintiff incorporates herein all allegations contained in the foregoing Paragraphs

1-40.

42.     Plaintiff has registered its copyright in the software code for its proprietary ALF

software. The registration number is TX 9-384-065.

43.     The Government received the software and documentation as a deliverable

under P.O. 309975 and had access to the software code.

44.     Without authorization from JET, the Government copied and shared the

copyrighted software code and documentation with Defendant JFTI. JFTI has also

copied the code and documentation without Plaintiff's authorization.

45.     To prove a cause of action for copyright infringement, a plaintiff must show: (1)

ownership of a valid copyright, and (2) that the defendant copied the original elements

of that copyrighted material. Lyons P'ship, L.P. v. Morris Costumes, Inc., 243 F.3d 789,

801 (4th Cir. 2001)(citing Feist Publ'ns, Inc. v. Rural Tel. Serv. Co. , 499 U.S. 340, 361

(1991)).

46.     Plaintiff can and will prove each of these elements. Plaintiff's ALF software code

is an original work developed by JET. JFTI copied the code or used the code, which

entailed copying, obtained from the Government without authorization from JET.

47.     Plaintiff has suffered actual damages from lost business and revenue as a result

of JFTI's unauthorized use of its code, and pursuant to 17 U.S.C. § 504, seeks an

award of its actual damages or the profits of JFTI from the infringement, if greater.

            COUNT II: VIOLATION OF THE DEFEND TRADE SECRETS ACT,




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                                  18 U.S.C. §§ 1836 ET SEQ.

48.       Plaintiff incorporates herein all allegations contained in the foregoing Paragraphs

1-47.

49.       Plaintiff's proprietary ALF software products and documentation are trade secrets

as defined in 18 U.S.C. § 1839(3) as they are forms and types of technical and

engineering information, including programs and codes which JET has taken

reasonable measures to keep secret. Moreover, the information derives independent

economic value from not being generally known to, and not being readily ascertainable

through proper means by, another person, including Defendant JFTI, who can obtain

economic value from the disclosure or use of the information.

50.       Defendant JFTI misappropriated Plaintiff's proprietary ALF software products and

documentation by acquiring such trade secret information with actual or constructive

knowledge that the information was acquired by improper means by the Government as

defined in 18 U.S.C. § 1839(5)(A).

51.       Defendant JFTI misappropriated Plaintiff's proprietary ALF software and

documentation by disclosing or using such information without Plaintiff's consent when

at the time of the disclosure or use JFTI knew or had reason to know that the

knowledge of the trade secret was:

      •   derived from or through a person who has used improper means, including

          breach of a duty to maintain secrecy, to acquire the trade secret;

      •   acquired under circumstances giving rise to a duty to maintain the secrecy of the

          trade secret of limit the use of the trade secret; or




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      •   derived from or through a person who owed a duty to Plaintiff JET to maintain the

          secrecy of the trade secret or limit the use of the trade secret, as defined in 18

          U.S.C. § 1839(5(B).

52.       Plaintiff's proprietary ALF software products and documentation are related to

services used in or intended to be used in interstate commerce.

53.       Plaintiff is entitled to and seeks damages for actual loss caused by the

misappropriation of the trade secret information and/or damages for unjust enrichment

caused by the misappropriation of the trade secret that is not addressed in computing

damages for actual loss, as provided in 18 U.S.C. § 1836(b)(3)(B)(i), or alternatively,

damages measured by the imposition of liability for a reasonable royalty for Defendant

JFTI's unauthorized disclosure or use of the trade secret, as provided in 18 U.S.C. §

1836(b)(3)(B)(ii).

54.       Plaintiff also seeks exemplary damages in an amount not more than 2 times the

amount of damages awarded under 18 U.S.C. § 1836(b)(3)(B) for Defendant JFTI's

willful and malicious misappropriation as provided in 18 U.S.C. § 1836(b)(3)(C).

                          COUNT III: COMMON LAW CONVERSION

55.       Plaintiff incorporates herein all allegations contained in the foregoing Paragraphs

1-54.

56.       In Maryland, conversion is an intentional tort which covers the "wrongful exercise

of dominion by one person over the personal property of another." Lawson v.

Commonwealth Land Title Ins. Co., 69 Md. App. 476, 480-81 (Md. App. 1986).

57.       The element of intent that must be proven is the intent to exercise dominion and

control over the plaintiff's property in a manner inconsistent with the plaintiff's rights.




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"`The intent required is not necessarily a matter of conscious wrongdoing.'" Keys v.

Chrysler Credit Corp., 303 Md. 397, 414, 494 A.2d 200 (1985) (quoting W. Keeton,

Prosser & Keeton on Torts, § 15 (5th ed.1984) (footnotes omitted)).

58.       By obtaining and using JET's proprietary software without its permission, JFTI

has committed the tort of conversion.

59.       Plaintiff seeks its damages for the fair market value of the converted software,

plus costs of recovery, including reasonable attorneys' fees, and punitive damages for

JFTI's willful and malicious acts in exercising unauthorized dominion and control over

Plaintiff's software.

COUNT IV: VIOLATION OF MARYLAND UNIFORM TRADE SECRETS ACT (MUTSA)
    MD. COMMERCIAL LAW CODE §§ 11-1202 THROUGH 11-1207 (2022)

60.       Plaintiff incorporates herein all allegations contained in the foregoing Paragraphs

1-59.

61.       Plaintiff's proprietary ALF software products and documentation are trade secrets

as defined in Md. Commercial Code, § 11-1201(e) as they are information, including a

program, method, technique or process that derives independent economic value from

not being generally known to, and not being readily ascertainable by proper means by,

other persons who can obtain economic value from its disclosure or use; and is the

subject of efforts that are reasonable under the circumstances to maintain its secrecy.

62.       As defined in Section 11-1201, Defendant JFTI misappropriated Plaintiff's

proprietary ALF software products and documentation, including by:

      •   acquiring the trade secret information knowing or having reason to believe that

          the trade secret was acquired by improper means, including breach of a duty to

          maintain secrecy;



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      •   disclosure or use of the trade secret information without Plaintiff's consent when

          at the time of disclosure or use JFTI knew or had reason to believe that its

          knowledge of the trade secret was (1) derived from or through a person who had

          utilized improper means, including breach of a duty to maintain secrecy, to

          acquire it; (2) acquired under circumstances giving rise to a duty to maintain its

          secrecy or limit its use; or (3) derived from or through a person who owed a duty

          to Plaintiff JET to maintain its secrecy or limit its use. A "person" includes the

          Government.

63.       Plaintiff is entitled to and seeks damages for (1) the actual loss caused by

misappropriation; and (2) the unjust enrichment cause by the misappropriation that is

not taken into account in computing actual loss, as provided in Section 11-1203(b), and

alternatively the damages as measured by imposition of liability for a reasonable royalty

for Defendant JFTI's unauthorized disclosure or use of the trade secret information, as

provided in Section 11-1203(c).

64.       Plaintiff also is entitled to and seeks exemplary damages in an amount not

exceeding twice any award made under Section 11-1203(b) for Defendant JFTI's willful

and malicious misappropriation of the trade secret information.

65.       Plaintiff is also entitled to and seeks an award of reasonable attorneys' fees for

JFTI's willful and malicious misappropriation of the trade secret information.


                             COUNT V: BREACH OF CONTRACT

66.       Plaintiff incorporates herein all allegations contained in the foregoing Paragraphs

1-65.




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67.    Plaintiff satisfied all terms and conditions of P.O. 309975 and yet Defendant did

not pay the purchase price or make any payments at all.

68.    Under Maryland law, elements of a breach of contract are: (1) a contractual

obligation and (2) a material breach of that obligation. Chubb & Son v. C & C. Complete

Servs., LLC, 919 F. Supp. 2d 666, 678 (D. Md. 2013). Further, and under Maryland law,

a claim asserting breach of contract "must of necessity allege with certainty and

definiteness facts showing a contractual obligation owed by the defendant to the plaintiff

.and a breach of that obligation by the defendant." RRC Ne., LLC v. BAA Maryland, Inc.,

994 A.2d 430, 440 (Md. 2010) (quoting Cont'l Masonry Co., Inc. v. Verdel Constr. Co.,

Inc., 369 A.2d 566, 569 (Md. 1977)) The Exhibits provided herein along with the facts

alleged in this Claim establish that a contract exists, JET performed its duties under the

contract and JFTI failed to remit payment. All of the foregoing is certain and definite.

69.    Any conditions precedent have been satisfied by JET. The clear intent of JET

was that once there was compliance with the official request, the purchase order

payment was due.

70.    The contract is clear that JET was to receive payment upon the compliance with

the terms and conditions of the contractual documents cited herein. The simple

language within such contractual documents makes it clear that the performance by

JET evidences the satisfaction by JET of its performance under the contractual

documents.




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71.    As JET has fulfilled all conditions precedent 1, performance by JFTI, in remitting

full payment (and now with interest given the vast amount of time since performance by

JET was completed) is due without any excuse relative to performance by JFTI.

72.    Therefore, Plaintiff is entitled to damages that are the direct and natural result of

the breach plus consequential damages for lost income from business operations that

would have been made but for the breach. See, e.g., CR-RSC Tower I, LLC v. RSC

Tower I, LLC, 429 Md. 387, 417-18 (2012).

73.   The Request for Quote. The August 5, 2022, request has, in part, the following
language:

              "All Baseline ALF Documentation/Deliverables is to be
              delivered with Government Purpose data rights. No
              integration support or training is required at this time. The
              Government requests physical delivery of software and
              documentation via CD or via DoD SAFE. Government
              approval will be required in order to facilitate payment".


1 Conditions precedent are conditions in a contract that must occur or be satisfied

before the obligations in the contract are due. Before these conditions are satisfied, no
duty has yet arisen. The Restatement (2d) of Contracts § 224 defines a condition
precedent as "an event, not certain to occur, which must occur, unless its non-
occurrence is excused, before performance under a contract becomes due." Under
Maryland law, a "condition precedent" is "'a fact, other than mere lapse of time, which,
unless excused, must exist or occur before a duty of immediate performance of a
promise arises.'" N.Y. Bronze Powder Co., Inc. v. Benjamin Acquisition Corp., 716 A.2d
230, 233 n.2 (Md. 1998) (quoting Chirichella v. Erwin, 310 A.2d 555, 557 (Md. 1973)).
Where a contract is subject to a condition precedent, a contractual obligation does not
arise until that condition is satisfied. The existence of a condition precedent is ultimately
a question of construction that depends on the parties' intent. Azimirad v. HSBC Mortg.
Corp., 2011 WL 1375970, at *4 (D. Md. Apr. 12, 2011) (quoting N.Y. Bronze Powder Co.,
716 A.2d at 233 n.2)). Although "no particular form of words is necessary in order to
create an express condition, such words and phrases as 'if' and 'provided that,' are
commonly used to indicate that performance has expressly been made conditional, as
have the words 'when,' 'after,' 'as soon as,' or 'subject to.'" N.Y. Bronze Powder Co., 716
A.2d at 233 n.2.


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See Exhibit A hereto.

74.    The official request, as set forth above, indicates that no integration support or

training was required. The "no training" language was in the original official request and

in the purchase order (all prepared by JFTI). There was never a written agreement

modifying the "no training" language. Delivery was made pursuant to the contract. It is

noteworthy that JET delivered precisely that which it was to deliver, and the items

delivered were subsequently verified to be delivered and completely functional by PMA-

209/MULE.

75.    The Quote, attached as Exhibit B hereto, contains the following language:

              "Baseline ALF Software, to include build instructions, all
              binaries, source code, specify software/hardware
              dependencies, and container images (if applicable). All
              software is to be delivered with Government Purpose data
              rights. Baseline ALF Documentation and all related
              Deliverables."

76.    All "applicable" and available products were delivered as related to the defined

list in the Request for Quote at section 2. A clear, concise, and exact list of the

deliverables was sent to PMA-209; and there was an agreement as to those specific

items only. The purchase order dollar amount confirmed the exactitude displayed as to

that which was required from JET.

77.    Further, and for purposes of this claim, a build (or build instruction) is a set of

executable code that is ready to be installed onto a customer's system. In this case, the

software build was an ALF baseline product targeting VxWorks 653 operating system on

PowerPC processor architecture. It was successfully verified as buildable and able to be

installed in the government's lab on their system.




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78.     Training: Although JET was not required to provide any training (or

integration/support) according to the purchase order, JET was directed by JFTI under

threat of being held not in compliance with the terms of the Purchase Order to provide

training and integration/support post-delivery. JET, notwithstanding that it had no

obligation to provide such training/instructions, did provide build instructions, two

additional documents/guides, the latest capabilities/versions of SDK and Core (originally

intended to be the immediately following purchase order and pre-funded as such on

JFTI's contract in preparation), the project configuration files used to build/compile,

software adapter products to account the MULE's lab deficiencies and lack of

capability/knowledge, on-call support, and meetings.

79.     The Government's Letter of Concern, attached as Exhibit E hereto.

       In Paragraph 6 within the Letter of Concern, it is stated that:

               "per the ALF ADD, Section 1.1 Paragraph 1, 'ALF is a
               modular and extensible framework that consists of ALF
               CORE, ALF SDK, ALF apps, and ALF Products.'"

The term "ALF" as it appears in the documentation refers to an overall program and is

JET's own marketing name. The official Request for Quote and the purchase order

requested a "Baseline ALF Software" product in line item #1, whose deliverables are

enumerated in line item #2 of the official request. Training materials, guides,

troubleshooting, lessons learned, etc. were explicitly NOT included in the delivery per

the official request. Note that it is clear that, within the official request: "3: No integration

support or training is required at this time."




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80.       To better understand this, it is important to consider the definitions of each

abbreviated item (none were required by the official Request for Quote or the purchase

order):

          a.       ALF Core - Contains the cross-platform ALF framework components and

          is the developer Application Programming Interface ("API") used by the ALF

          Framework. ALF Core does not include executable code. ALF Products can use

          ALF Core (but are not required) to target a specific operating environment

          (Hardware / Operating System). ALF Core comprises header files (function

          signatures) that define to software developers how to perform the following

          operations in ALF:

               •   Service Orchestration

               •   Transport Services

               •   Health Monitoring

               •   Diagnostic Services

          Customers are able to write their own APIs as desired or purchase APIs from

          JET.

          b.       ALF SDK – The development environment for ALF Applications and

          systems, including tools and plugins for Integrated Development Environments.

          ALF SDK enhances, does not replace, existing software development processes

          (such as WindRiver's Workbench) and is NOT part of the final mission product.

          The SDK is a separate product used to build ALF software components and

          includes the environment and tools that make a system image. The SDK

          components themselves are not part of or required for the final executable image




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      that would run on the system, they are only used to help JET and/or ALF users

      more rapidly develop that image. Customers are not bound to JET's SDK

      products; they are able to write their own SDK tools or purchase JET's.

      c.     ALF App - An application that uses ALF Core and targets an ALF Product.

      ALF Apps may be deployed to any supported ALF Product. They also may be

      migrated to other ALF Products with reduced development time. ALF Apps can

      be reused to create more complex software capabilities. It is imperative to

      recognize that no ALF App was defined as a specific deliverable.

      d.     ALF Product - An implementation of ALF that targets a specific operating

      system and processing architecture as requested by a customer. In the case of

      this P.O., the ALF Product delivery was targeted towards VxWorks Operating

      System, and PowerPC Processing architecture, per the government’s direction.

81.   Once again, it is noteworthy that JET verified with the MULE that the enumerated

deliverable components have all been received by the Government, built (by the

Government), deployed (by the Government), and are in working order. This has been

demonstrated in both JET and MULE lab environments.

82.   Thus, JET has complied with the contract documents, has satisfied any

conditions precedent relative to same, and is entitled to immediate and full payment

from JFTI along with all interest from the date payment was due plus consequential

damages.

83.   Further, The Letter of Concern in paragraph 2 also indicates that the software is

to be delivered "using DL-PSC-81488" as guidance. There is no question that JET

delivered the agreed upon software in a manner consistent with DL-PSC-81488.




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WHEREAS Plaintiff prays for the following relief:

On Count I (Infringement of Copyright),

   •   Declaratory and injunctive relief; and

   •   Pursuant to 17 U.S.C. § 504, an award of actual damages or the profits of JFTI

       from the infringement, if greater.

On Count II (Violation of the Defend Trade Secrets Act),

   •   Declaratory and injunctive relief;

   •   Damages for actual loss caused by the misappropriation and/or damages for

       unjust enrichment that is not addressed in computing damages for actual loss;

   •   Alternatively, damages measured by the imposition of liability for a reasonable

       royalty; and

   •   Exemplary damages in an amount not more than 2 times actual damages for

       Defendant's willful and malicious misappropriation.

On Count III (Common Law Conversion):

   •   Declaratory and injunctive relief;

   •   Damages for the fair market value of the converted software plus costs of

       recovery, including reasonable attorneys' fees; and

   •   Punitive damages for Defendant's willful and malicious acts in exercising

       unauthorized dominion and control over Plaintiff's software.

On Count IV (Violation of Maryland Uniform Trade Secrets Act),

   •   Declaratory and injunctive relief;

   •   Damages for actual loss caused by the misappropriation and/or the unjust

       enrichment not taken into account in computing actual loss;



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   •   Alternatively, damages as measured by imposition of liability for a reasonable

       royalty;

   •   Exemplary damages in an amount not exceeding twice any award of actual

       damages; and

   •   Reasonable attorneys' fees for Defendant's willful and malicious

       misappropriation.

On Count V (Breach of Contract),

   •   Declaratory and injunctive relief; and

   •   Actual damages that are the direct and natural result of the breach plus interest

       and consequential damages for lost income from business operations that would

       have been made but for the breach.

                              TRIAL BY JURY DEMANDED

       Plaintiff hereby demands a trial by jury on all issues in this Complaint triable of

right by a jury.

Dated: June 5, 2024,                              Respectfully submitted,

                                                  _ /s/ Richard S. Toikka
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